 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 1 of 7 PageID #: 8522




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 PAMELA BUTLER,                                      )
                                                     )
                    Plaintiffs,                      )     Case No. 4:18-cv-01701-AGF
        v.                                           )
                                                     )     Lead Case
 MALLINCKRODT, INC., et al.                          )
                                                     )    ORAL ARGUMENT REQUESTED
                    Defendants.                      )

         NOTICE OF JOINDER AND SUPPLEMENTAL MEMORANDUM BY
          DEFENDANT COTTER CORPORATION (N.S.L.) TO MOTION TO
                 EXCLUDE, OR IN THE ALTERNATIVE, LIMIT
         THE TESTIMONY OF PLAINTIFFS’ EXPERT JAMES WELLS, PH.D.

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) joins and submits this supplemental

memorandum in support of the motion to exclude or limit the testimony of Plaintiffs’ Expert

James Wells, Ph.D., filed by Mallinckrodt, Inc. (“Mallinckrodt”). In addition to the arguments

and authorities raised by Mallinckrodt, Dr. Wells’ opinions and bases as to Cotter do not satisfy

the requirements of Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), for the following reasons:

       No Air Modeling Expertise. As with Mallinckrodt, Dr. Wells goes far beyond his

geologist expertise to offer air modeling opinions on Cotter’s compliance with the federal

regulatory effluent limits. (Mallinckrodt Mem. 17–19, Ex. A at 3.)

       Dr. Wells readily admitted that he did not perform any modeling himself and instead tried

to rely on Mallinckrodt’s expert’s air dispersion models. (Wells Butler 239:12–20.) He also

conceded that in his other projects that required air modeling, he would “leave it to a modeler to

actually construct and run the model.” (Wells Butler 247:16–22.) Additionally, Dr. Wells did

not, nor could he, verify the air models run by Mallinckrodt’s actual air modeling experts on
                                                 1
 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 2 of 7 PageID #: 8523




whom Dr. Wells relied. (Wells Butler 313:7–16.) In fact, as Mallinckrodt’s motion and experts

explain, Dr. Wells’ reliance on their work is riddled with errors. (Mallinckrodt Mem. 8–11, Ex.

M.) This lack of qualified verification or testing nullifies the reliability of Dr. Wells’ air

modeling opinion. 509 U.S. at 593.

       Under Daubert, Dr. Wells, a geologist, cannot stray from the scope of his expertise to

offer unverified and unreliable air dispersion opinions against Cotter based on other experts’

work. “A scientist, however well credentialed he may be, is not permitted to be the mouthpiece

of a scientist in a different specialty.” Dura Auto. Sys. of Indiana, Inc. v. CTS Corp., 285 F.3d

609, 614 (7th Cir. 2002); Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc., 254

F.3d 706, 715 (2001) (“a district court must continue to perform its gatekeeping role by ensuring

that the actual testimony does not exceed the scope of the expert’s expertise, which if not done

can render expert testimony unreliable”).

       Erroneous Air Model. Dr. Wells’ lack of air modeling expertise becomes apparent in

his failure to apply an accepted air dispersion modeling methodology or apply the methodology

he chose correctly. Instead, Dr. Wells applied a “box model” used for enclosed spaces. (See

Expert Report, Douglas Daugherty, Ph.D., PE, CIH, Ex. A at 14.) This box model assumed

incorrectly that any emissions from Cotter’s open-air drying operations at Latty Avenue would

never rise above 10 meters and would be mixed solely with the air in the enclosed box shape of

the model. (Wells Butler 314:8–11.)

       But the shape of Cotter’s open-air operations at Latty Avenue did not resemble an

enclosed box. (Wells Butler 315:1–9.) Nor did Dr. Wells account for open-air characteristics,

such as the temperature, the prevailing wind direction, the buoyancy of any plume, and the

upward velocity on release from the dryer stack. (Wells Butler 315:11–16, 317:11–13, 335:20–


                                                   2
 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 3 of 7 PageID #: 8524




336:3.) And critically, the stack of Cotter’s dryer itself rose to 9.1 meters, which Dr. Wells does

not dispute. (See Ex. A at 14.) This fundamental error means that hot emissions from the dryer

stack would rise—well above Dr. Wells’ box-model height of 10 meters, because the emissions

started and went up from 9.1 meters—and would then move downwind from the dryer at the

prevailing wind direction in open air. (See id.) Dr. Wells’ failure to apply accepted air

dispersion modeling dooms his opinions as to Cotter. See Daubert, 509 U.S. at 593–94

(requiring the technique or theory to be “generally accepted in the scientific community”); Am.

Auto. Ins. Co. v. Omega Flex, Inc., 783 F.3d 720, 722 (8th Cir. 2015) (requiring experts to

“employ[] the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field”); Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1057 (8th Cir. 2000)

(opinion resting on faulty or insufficient data or ignoring relevant data should be excluded).

        Moreover, Dr. Wells acknowledged that he did not perform any validation on his use of

the box model. (Wells Butler 315:15–316:3.) He defended his failure to use accepted air

dispersion models by pointing to the lack of data supporting his calculations: “[W]hat we’re

trying to do is fill in data gaps, either temporal or spatial data gaps. . . . [W]e don’t have a lot of

measurements from the time that the dryer was operating of particulate concentrations at the

fence line. As a matter of fact, I’m not aware of any.” (Id.) But the lack of data does not

somehow obviate the need to apply the right air models. (See Ex. A, pp. 9–17.) And the

analytical gap between the actual facts in the record and Dr. Wells’ flawed box model opinion

requires its exclusion. See Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 758 (8th Cir. 2006).

        Flawed Air Modeling Opinions. Not surprisingly, Dr. Wells also contradicted the

sources he tried to rely on for his air modeling opinions. First, Dr. Wells misused a radon

emission rate developed by Mallinckrodt’s experts for SLAPS and applied the rate to Cotter’s


                                                   3
 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 4 of 7 PageID #: 8525




operations at Latty Avenue. His calculations almost exclusively consisted of releases from K-65

drums, despite the fact K-65 drums were not even present at Latty Avenue. (Ex. A, p. 28.) Had

Dr. Wells identified and corrected this error (as a qualified air modeling expert would), the

resulting radon emission calculations at Latty Avenue would have been 173 times lower. (Id.)

Again, Dr. Wells’ unreliable opinion simply does not match the actual facts and thus fails

Daubert. Marmo, 457 F.3d at 758.

       Second, Dr. Wells misused Mallinckrodt’s expert report to conclude that Cotter had

released certain radionuclide concentrations above the regulatory guidelines. But the report itself

acknowledged that while the decrease in temperature of Cotter’s drying operations in October

1970 “would result in lower emissions,” that decrease was “not considered explicitly” in

Mallinckrodt’s expert analysis. (Ex. A, p. 20.) Again, if Dr. Wells were to apply that analysis

reliably to the facts as a qualified air modeler (which he admittedly cannot do), he would have

factored in the decreased temperature. He did not. Yet re-calculating the estimated emissions

based on the lower dryer temperature reduces Dr. Wells’ overstated emissions by approximately

10% and within the regulatory limit. (Ex. A, pp. 20–22.)

       Dr. Wells’ “unblinking reliance” on air modeling data in Mallinckrodt’s expert report for

air modeling opinions far beyond his expertise—and despite the report itself acknowledging that

an accurate analysis should reduce the emissions—“demonstrates that the methodology he used

to formulate his opinion was flawed under Daubert as it was not calculated to produce reliable

results.” In re TMI Litig., 193 F.3d 613, 715 (3d Cir. 1999).

       Unreliable Allocation Opinions. As for Dr. Wells’ flawed allocation between

Mallinckrodt and Cotter, Plaintiffs’ counsel asked Dr. Wells “to make an assumption that the

parties in this case, Mallinckrodt and Cotter, were or could be considered responsible for the


                                                 4
 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 5 of 7 PageID #: 8526




entire allocation from the respective sites.” (Wells Butler 264:3–7.) This admission itself makes

Dr. Wells’ opinion irrelevant: the allocation excludes all other sources of radiation exposure.

Dr. Wells also admitted that his apportionment between the two parties was not one “that relies

on calculations.” (Wells Butler 336:19–23.) In other words, Dr. Wells took a litigation-driven

premise and reached a litigation-driven result without any scientific basis. This guesswork

cannot survive a Daubert challenge. See Lauzon v. Senco Prod., Inc., 270 F.3d 681, 687 (8th

Cir. 2001) (Daubert considers “whether the expertise was developed for litigation or naturally

flowed from the expert’s research”); Castellow v. Chevron USA, 97 F. Supp. 2d 780, 786 (S.D.

Tex. 2000) (“work[ing] backward” from conclusion to find scientific support is a practice that

“cannot withstand Daubert scrutiny and is not due any credence in a court of law”).

                                          CONCLUSION

       At bottom, Dr. Wells is the sole Plaintiffs’ expert offering air dispersion opinions, and yet

Dr. Wells admits he is not an air modeler, fails to apply accepted air dispersion models, fails to

account for the actual characteristics of the sites at issue, fails to make any attempt to

characterize the atmospheric influences that would drive the dispersion of any air pollutants,

misapplies the calculations of other experts in inappropriate and unreliable ways, and focuses on

results dictated by litigation, not science. For these reasons, Cotter joins in Mallinckrodt’s

motion to exclude or limit the opinions and testimony of Plaintiffs’ expert James Wells, Ph.D.




                                                  5
Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 6 of 7 PageID #: 8527




     Dated: August 18, 2021               Respectfully submitted,

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                                      6
 Case: 4:18-cv-01701-AGF Doc. #: 54 Filed: 08/18/21 Page: 7 of 7 PageID #: 8528




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of August, 2021, I electronically filed the above with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to counsel of record.

                                                     /s/ Brian O. Watson
